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| Maricopa County Community College

AUER LAW FIRM PLLC
Colleen Auer (014637)
11445 E. Via Linda, STE 2-529
) Scottsdale, Arizona 85259

Telephone: (602) 370-7965
cauernd!14@gmail.com

(Attorney for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

 

No.
Emily Thoms and Kamaleilani Moreno,
| Plaintitts,
VERIFIED COMPLAINT FOR
Vv. DECLARATORY AND INJUNCTIVE
| y RELIEF -

District,

 

 

a Defendant.

 

 

 

| Plaintiffs herein complain against Defendant, Maricopa County Community College
District (the “District” as follows:
NATURE OF ACTION

|’ 1: This is a civil action arising under the First Amendment and Arizona’s Free

|Exercise of Religion Act (“AZFERA”), A.R.S. §§41.1493 et seq.

2. Plaintiffs seek injunctive and declaratory relief from the District’s administrative

 

 

regulation, /romulgated on or about August 25, 2021, and amended on or about September
16, 2021, which requires all District Nursing and Allied Health students (the “N&AH

Students”) assigned to a Fall 2021 clinical rotation witha clinical partner who requires

 

 

 

 

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universal COVID-19 vaccination for clinical placements, to forfeit their sincere religious
beliefs and get vaccinated before the start of said rotation or exercise their sincere religious
beliefs opposing vaccination and be removed from their academic programs at the start of
said rotation (the “Vaccine Mandate”). |
3. Plaintiffs have moved this Court for temporary and preliminary injunctive relief
in view of the following:
a. Efforts by Plaintiffs’ counsel to secure a reasonable accommodation for
Plaintiffs from the District ended unsuccessfully on October 14, 2021; and,
b. Plaintiffs are subject to the Vaccine Mandate for their Fall 2021 clinical

rotations commencing on November 8, 2021, and absent the injunctive relief requested,

will suffer irreparable harm for exercising their sincere religious beliefs opposing COVID-

12 | 19 vaccination, as follows:

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> the District will withhold further contracted-for educational services from
Plaintiffs commencing on November 8, 2021;

> the District will remove Plaintiffs from their nursing programs resulting in
a failure (or an incomplete) for their fourth and final semester of those programs; and,

. P the District will deny Plaintiffs the balance of their contracted-for

educational services and the resultant Associate in Applied Science in Nursing Degrees

anticipated December 17, 2021.

JURISDICTION AND VENUE

4. This action arises under the First. Amendment to the United States

22 t Constitution and is brought pursuant to 42 U.S.C. §1983.

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5. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§1331

and 1343(a)(3)(4). Further; this Court has pendent jurisdiction over the state-counterpart
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claim pled pursuant to 28 U.S.C. §1367(a). Venue in this judicial district is proper pursuant

to 28 U.S.C. §1391(b) because: (i) Defendant resides in this judicial district, and (ii) all of

 

 

 

 

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the events, acts, and omissions giving rise to Plaintiffs’ claims occurred in this judicial
district.

6. This Court is authorized to grant declaratory relief under the Declaratory
Judgment Act, 28 U.S.C. §§2201-02, implemented through Rule 57 of the Federal Rules

of Civil Procedure.

7. This Court is authorized to grant Plaintiffs’ prayer for temporary,
preliminary, and permanent injunctive relief pursuant to Rule 65 of the Federal Rules of
Civil Procedure.

8. This Court is authorized to grant Plaintiffs’ prayer for relief regarding costs,
including a reasonable attorney’s fee, pursuant to 42 U.S.C. §1988 and A.R.S. §41-
1493.01(D).

PARTIES
I. PLAINTIFFS

9. As more particularly alleged below, Plaintiffs are students in the District’s
nursing program at Mesa Community College (“MCC”) whose sincere religious beliefs
compel them to refuse vaccination with the available COVID-19 vaccines, all of which
employ aborted fetus cell lines in their testing, development, or production.

- 10. Plaintiff Emily Thoms resides in Prescott, Arizona. Plaintiff Kamaleilani

. ‘ . |
Moreno resides in Chandler, Arizona.

Il. DEFENDANT

11. The District is a political subdivision of the State of Arizona, organized and

| existing under the laws of the state of Arizona, governed by the Maricopa County |
Community College District Governing Board (the “District Board”), with the capacity to
| sue and be sued. A.R.S. §15-1444B(3)..

12. The District, by and through its District Board, manages and operates ten |

community colleges and two skill centers in Maricopa’ County, Arizona from its

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headquarters in Tempe, Arizona.

 

 

 

 

 

 
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13. The District Board has broad general powers and duties in regard to the
governance and operation of the community colleges under its jurisdiction (A.R.S. §§15-
1401, -1444, -1445), and is authorized and required: 1) to “adopt policies for the
government of th[ose] community colleges” (A.R.S. §15-1445(1)); and, 2) to “enforce the
courses of study prescribed by the [D]istrict [B]oard” (A.R.S. §§15-1444(A)(3)).

14. Allof the District Board’s actions on behalf of the District, as alleged herein,

were taken in its official capacity, within the scope of its authority, and under color of state

‘law.

FACTS COMMON TO ALL CLAIMS

I. DISTRICT’S VACCINE MANDATE OVERVIEW AND IMPLEMENTATION
A. District’s Vaccine Mandate

15. The District attributes its Vaccine Mandate to the requirements of its thirty-
six (36) major healthcare providers and their affiliates who partner with it to | provide
clinical opportunities for the District’s N&AH Students (the “Clinical Partners”). Under

its agreements with these Clinical Partners, the District promises to adhere to their clinical-

| placement requirements, including their respective health and safety requirements for
students related to COVID-19. These requirements vary significantly among the Clinical |

Partners, as follows:

a. Some Clinical Partners require universal COVID-19 vaccination for students
who perform clinical work at their facilities. Plaintiffs are informed by the District that |
this includes: Phoenix Children’s Hospital and Mayo Clinical Hospitals.

b. Some Clinical Partners allow the declination of COVID-19 vaccination for
students who perform clinical work at their facilities. Plaintiffs are informed by the District
that this includes: Abrazo Health, Valleywise Health, and Mountain Vista Medical Center.

These Clinical Partners require unvaccinated students to sign a declination document, and

 

 

 

 
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| which requires all N&AH Students to meet the clinical placement requirements of the

| necessary for all of its N& AH Students because clinical placements are randomly assigned

 

|on COVID-19 vaccination requirements for students who perform clinical work at their

 

 

 

to comply with the Clinical Partners’ daily self-screening, universal masking, heightened
Sanitization, and other COVID-19 safety protocols.

c. Some Clinical Partners permit religious and other exemptions to COVID-19

 

 

vaccination for students who perform clinical work at their facilities. Plaintiffs are
informed by the District that this includes: Banner Health and HonorHealth. These Clinical :
Partners require students with approved exemptions to comply with the Clinical Partners’
daily self-screening, universal masking, heightened sanitization, and other COVID-19
safety protocols.

d. Some Clinical Partners leave it to the District to determine the COVID-19
vaccination requirements for its students who perform clinical work at their facilities.

Plaintiffs are informed by the District that this includes: Dignity Health.

-e. Finally, some Clinical Partners have not taken and/or communicated a position

 

 

facilities. Plaintiffs are informed by the District that this includes: Phoenix VA Healthcare
System. a Oo !
a 1. Phase 1: No Accommodation for Sincere Religious Beliefs

16. In the face of this wide variation in its Clinical Partners’ COVID-19

vaccination requirements for students, the District elected to adopt the Vaccine Mandate

 

 

District’s most stringent Clinical Partner. Those requirements are: universal COVID-19 :
vaccination for students placed with that Clinical Partner. by October 1, 2021.

17. According to the District, this unyielding vaccination requirement is

based on available clinical spots for each college and thus any N& AH Student could be

a
assigned to the District’s most stringent Clinical Partner. The Vaccine Mandate therefore |

 

 

ensures that N& AH students invariably satisfy the placement requirements of assigned

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Clinical Partners, which, in turn, ensures that the District satisfies its contractual
commitments to its Clinical Partners to abide by their placement requirements.

18. But, in truth, the District’s clinical assignment process is quite different.
Indeed, it is not done by random assignment. Rather, N&AH Students are allowed to pick
their top three (3) clinical-site preferences, and the District makes assignments to |
accommodate those listed preferences. ‘Thus, the District can, and does, suit clinical
assignments to its N& AH students’ preferences.

19. Still, the District imposed the Vaccine Mandate and set a deadline for
compliance of September 30, 2021 (“Compliance Deadline”).

20. By that Compliance Deadline, all N&AH Students, including Plaintiffs, had
to either:

a. provide proof of COVID-19 vaccination to the District and to their assigned
Clinical Partner(s) for Fall 2021 clinicals by uploading their vaccination documentation
into American DataBank (“ADB”) and/or My Clinical Exchange (“mCE”’); or

b. seek a “religious accommodation” from the District by (i) completing and
uploading the District’s COVID-19 Vaccine Declination form and _ Religious
Accommodation Request form into ADB and/or mCE, and (ii) copying their Program
Director on these materials.

21. The requests for religious accommodation, However, would invariably be

denied by the District on the grounds that:

...there is no reasonable accommodation that would enable you to meet the .
requirements for clinical placement without placing an undue hardship upon
the College/District in complying with its agreements with [C]linical
|P]artners and in making its student-placement assignments.

[See Office of Compliance emails rejecting Plaintiffs’ religious accommodation requests
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| dated September 15, 2021, attached hereto as Exhibit 1.]

 

 

 

 

 

 

 

 
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| to the start of the associated Fall 2021 clinical rotations.

 

 

 

2. Phase 2: Selective Accommodation of Sincere Religious Beliefs

22. Two weeks before the Compliance Deadline was set to expire, the District

| amended its Vaccine Mandate on September 16, 2021 to allow select N&AH Students |

opposed to COVID-19 vaccination on religious grounds to obtain an accommodation from

the District (the “REL/Eligibles”).

23. The accommodation is an extension of the N&AH Student’s Compliance
Deadline for the Vaccine Mandate from September 30, 2021 through the conclusion of the
N&AH Student’s Fall 2021 clinical rotations (the “Accommodation’’).

24. To qualify for the Accommodation, the N&AH Student has to meet all of the
following requirements:

(1) he/she has to be assigned to Fall 2021 rotations with Clinical Partners who
either do not require COVID-19 vaccination, or offer religious exemptions to COVID-19
vaccination, for clinical placements;

(ii) he/she must have requested a “religious accommodation” from the District by
the Compliance Deadline, as alleged in paragraph 20b above;

_ (iii) he/she must complete and upload the District’s Religious Accommodation
Agreement (with approved declination forms or religious exemptions from Clinical

Partners) into ADB and/or mCE, and copy their Program Director on these materials prior

|

[The District’s standard Religious Accommodation Agreement is attached hereto as

Exhibit 2, and the revised version of that Agreement authorized for Plaintiffs’ use only is

| attached hereto as Exhibit 3.]

25. Since N&AH Students have two Fall 2021 clinical rotations with different

Clinical Partners, both. Clinical Partners have to exempt the student from COVID-19
y

vaccination requirements in order for the student to receive the Accommodation from the
District. Even then, the Accommodation is contingent upon the Clinical Partners’ (1) not

changing their placement criterion to require universal COVID-19 vaccination for students,

 

 

 

 

 

 
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and/or (11) canceling the clinical placement necessitating reassignment to another Clinical

Partner that might require universal COVID-19 vaccination for students. [See Ex. 2 at 2

171-2.
26. Plaintiffs are not REL/Eligibles, because they are assigned to at least one Fall

2021 rotation with a Clinical Partner who requires universal COVID-19 vaccination for

students.
B. District’s Mandate Decision
l. A Non-Transparent Mandate
27. The Vaccine Mandate is a policy which the District Board is expressly
authorized to adopt “for the government of the community colleges under its jurisdiction.”
[A.R.S. §15-1445(1).]

28. In this instance, the August 25, 2021 Vaccine Mandate, as amended on
September 16, 2021, was formulated behind closed doors by an unknown contingent of the
District’s academic leadership with the knowledge, authorization, and consent of the
District Board, and the District Board expressly adopted and/or ratified the Vaccine
Mandate without any public discussion or vetting of the grounds for the Vaccine Mandate.

.29. Asa result, there is no way to know what information the District Board
relied on to decide that it would be infeasible for the District to provide any form of
accommodation to N&AH Students, like Plaintiffs, who do not qualify as REL/Eligibles
but, nevertheless, require the same religious accommodation from COVID-19 vaccination
in order to complete their Fall 2021 clinical rotations and continue on to finish out their
academic programs (the “REL/InEligibles”).

30. What is known, however, is that the District Board rejected multiple
accommodations proposed by the RELAnEligibles as unreasonable on the grounds of
undue hardship to the District. This includes, but is not limited to, the following

accommodations:

 

 
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Emergency associated with the COVID-19 pandemic remains in effect, the District has the
ability to obtain from the Arizona State Board of Nursing (“AZBON’) a temporary and

renewable one-year waiver of specific teaching requirements for its AZBON-approved

 

 

nursing, nursing assistant, and medication assistant programs, as follows:

 

The requirements that may be waived include: a.) to substitute simulations,
lab hours, and similar non-direct patient contact for required direct patient
care clinical/instruction hours; b) to provide all classroom/didactic teaching
electronically, rather than in-person.

[See AZBON Declaration: Temporary Waiver of Applicable Professional Licensure
Requirements (Emergency Measures for COVID-19) at §8 (emphasis supplied), attached
hereto as Exhibit 4.]

To obtain the AZBON Temporary Waiver, the applicant must “describe all

 

 

requested program modifications, and how the modification will provide adequate learning

| | opportunities.” [/d.] The District applied for and obtained this temporary waiver from the

AZBON for the period March 19, 2020 to March 19, 2021, and for a renewal period from
August 12, 2021 to August 20, 2022. [See AZBON Response to Public Records Request
dated October 5, 2021 with attached District applications for the original and renewal
waivers, attached hereto as Exhibit 5.|

Thus, the District has a reasonable means available to it to accommodate the
REL/MnEligibles — namely, simulation of clinical experiences in lieu of on-site clinical

work. Indeed, the District has already relied on this form of accommodation to provide the

| same training at issue to tts N&AH Students who oraduated in December 2020 and

 

 

‘| May/June 2021 during the height of the pandemic when there were few, if any, clinical

placements available.

 

 

b: ‘Hybrid Combination of Simulation and In-Person Clinical Experiences.
Alternatively, the District has the ability to employ a hybrid combination of simulation of

clinical experiences with in-person clinical experiences at other facilities without universal

 

 

a. Simulation of Clinical Experiences. While the Governor’s Declaration of |

 

 

 

 

 

 

 

 

 

 

 

 

 
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COVID-19 vaccination requirements such as fire departments or physicians’ offices, as an

accommodation to REL/InEligibles.

c. Extra Assignments and/or Simulation Days. The District also has the option to

substitute extra assignments and/or simulation days for in-person clinical work as an |

accommodation to REL/InEligibles. This might include Lippincott DocuCare which |

“integrates over 150 patient scenarios with web-based academic Electronic Health Record
(EHR) simulation software, allowing students to learn how to use an EHR in a safe, true-

to-life setting, while enabling instructors to measure their progress.” See

https://laerdal.com/us/products/courses-learning/virtual-simulation/lippincott-docucare/.

| It might also include vSim for Nursing, which 1s “designed to simulate real nursing

scenarios” and “allows students to interact with patients in a safe, realistic environment,

 

available anytime, anywhere.” See https://thepoint.lww.com/book/show/592700#/about-

 

this-product?groupby=. And, it might also include in-person clinical experiences as well.
d. Switching Clinical Partner Assignments. Another option available to the District
is to allow REL/InEligibles to switch Fall 2021 rotations with COVID-19-vaccinated
N& AH Students placed with Clinical Partners that do not require, or permit exemptions to,
COVID-19 vaccination.
--e. Ask Clinical Partners Mandating the Vaccine to Permit Religious Exemptions.
Still another option available to the District is to negotiate with its Clinical Partners who
require universal vaccination in order to secure.a religious exemption contingent upon the

student’s strict adherence to certain safety protocols, which may include: pre-clinical

- | COVID-19 testing: daily COVID-19 pre-checks, use of N95 masks and other protective

gear while working on premises, restricting work to certain approved areas, and the like.
31. According to the District Board, not one of the above-alleged
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accommodations can reasonably be provided to REL/InEligibles without substantially

compromising the academic integrity and/or administration of its educational programs.

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District was so inclined.

 

 

days for a group of students who failed to timely meet non-vaccination, clinical placement

32. Yet, history reflects that when the District wants to, or for self-serving
reasons must, accommodate its students’ particular needs, it does so. By way of example
only, and not limitation:

a. the District provided simulation of the same clinical experiences at issue (in lieu
of in-person clinicals) for its N&AH Students who graduated in December 2020 and
May/June 2021 during the height of the COVID-19 pandemic when few, if any, clinical

 

 

placements were available;

|

b. the District substituted simulation of clinical experiences for in-person clinical

criteria; and,

c. the District deferred the deadline for three (3) student blocks to meet non-
vaccination, clinical placement criteria. |
[See, e.g., August 31, 2021 Announcement for Paradise Valley Community College
(“PVCC”) Clinical Group 2 (“Please note that Clinical Group 2 did not meet the |

 

 

compliancy expectation by the hospital’s deadline, so the first day of clinical at the hospital
has been cancelled. Professor Tracy will be looking at the schedule to determine a SIM
date, hopefully the same date as planned”); October 6, 2021 Jared Christy Email to nursing

students in Blocks 1-3 (extending deadline to comply with non-vaccination clinical

 

 

placement criteria). The August 31, 2021 Announcement and October 6, 2021 email are
attached hereto as Exhibits 6 and 7, respectively. | |
33. These are merely three (3) examples of the multitude of historical

accommodations the District has made for its N&AH Students over the years when the

 

 

2. A Selectively-Applied Mandate

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34. The District’s Vaccine Mandate is selective in its impact — falling entirely on |

the shoulders of REL/InEligibles.

 

 

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35. They alone are given a Hobson’s Choice by the District to: 1) abandon their

religious convictions and get vaccinated before the commencement of their Fall 2021

 

 

| rotations with universal vaccination requirements or 2) be pulled from those clinical
rotations, resulting in a failure (or an incomplete) for the semester and withdrawal from
their academic programs. [See Ex. 2 at 2, 95; see also District Administrator’s letter to
each Plaintiff denying their respective religious accommodation requests dated September
14, 2021, attached hereto as Exhibit 8.]

3. Not the Least Restrictive Alternative

36. The dire consequences visited on the REL/InEligibles for standing by their

 

 

| religious convictions and refusing COVID-19 vaccination are attributable to the District’s
singular interest in remaining compliant with its Clinical Partner contracts.

37. This 1s not about public health and safety. Indeed, the District has no

 

 

| COVID-19 vaccine requirement for its own students, including the N&AH Students. Nor

oF it its students by its Clinical Partners, which it left entirely to its Clinical Partners.

38. Rather, the District’s sole interest is to ensure that its N&AH students meet.

the clinical placements requirements of its Clinical Partners, as covenanted by the District,

whatever they might be.

 

 

| 39. The one-size-fits all Vaccine Mandate for N&AH Students is therefore a
matter of expedience and ease of administration for the District; it is not a carefully-crafted

policy designed to satisfy the District’s contractual commitments to both its Clinical

_ | Partners and N&AH Students, while also respecting and accommodating the sincere

religious beliefs of its N& AH Students.
40. This is evidenced by the following facts:

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a. as of the date of this filing, the District does not know the student vaccination

requirements of twenty-eight (28) of its thirty-six (36) major. Clinical Partners, much less

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their affiliates, and is therefore in no position to conclude that there is mo reasonable

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did the District have any hand in crafting the public health.and safety protections required

 

 

 

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academic accommodation it can offer REL/InEligibles without undue hardship to the
District:

b. with the District’s blessing, REL/InEligibles have already been performing
both virtual clinicals and in-person clinicals for Fall 2021 (i.¢., the hybrid accommodation
model alleged in paragraph 30(b) above) with various of the District’s Clinical Partners
whose COVID-19 vaccination requirements for employees and students do not go into
effect until November ft, 2021; and,

Cc. the District’s Compliance Deadline for the Vaccine Mandate has proven
meaningless for REL/Eligibles still awaiting religious exemption approvals from their
assigned Clinical Partners after September 30, 2021, with the District deferring that
deadline until after those approvals are received unless, of course, they are not received by
the commencement date of the clinical rotation in which case the affected REL/Eligibles
suffer the same punitive program consequences as the REL/InEligibles because of the
Clinical Partners’ tardiness in approving their religious exemption requests.

41. It is also evident that the District’s contractual covenants with its N&AH

| Students do not factor in to its Vaccine Mandate. The District promised these students

education, training, and a degree/certificate in their field of study if they met the terms and

conditions of enrollment, made satisfactory academic progress, and paid the costs of their

academic programs, all of which they have done. Submitting to COVID-19 vaccination

-was never part of that bargain. Nor was abandoning their sincere religious beliefs. Yet,

those covenants have been entirely overlooked by the’ District in the formulation and

enforcement of its Vaccine Mandate.

42. Indeed, the District has shunned at least five (5) alternative accommodations,

| alleged hereinabove, that would enable it to fulfill both its contractual commitments to its

Clinical Partners and to its REL/InEligibles, while also permitting the latters’ free exercise

of their sincerely held religious beliefs.

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It. DISTRICT’S BULLYING AND VILIFICATION OF STUDENTS SEEKING A
RELIGIOUS ACCOMMODATION FROM THE VACCINE MANDATE.

43.

The District has made no secret of its disdain for the religious beliefs of its

N& AH Students who have refused COVID-19 vaccination on those grounds, as evidenced
| by the following:

» the speed with which the District imposed the Vaccine Mandate before it knew

its Clinical Partners’ positions on COVID-19 vaccination for students placed at their

facilities;

> the lectures, counseling, and disparate treatment religious objectors have

endured while being made to feel selfish, ostracized, and “less than” worthy healthcare

professionals for not sacrificing their religious convictions to get vaccinated;

bP the misinformation (e.g. below) and discouragement religious objectors have | —

been fed in order to make them believe that religious exemptions to COVID-19 vaccination

are an impossibility — creating anxiety, self-doubt, internal conflicts, and incredible stress

to sacrifice their sincere religious beliefs in order to salvage their educational futures;

 

 

[The District] will take [your declination] because we are not going to have

students all up in arms over this. Here’s the thing, if it was for [the District],

you guys would be fine. We’re not saying you can’t go to class. We’re not

saying you can’t go to SIM. We’re not saying you can’t go to lab, okay. Just
_ like every student here, any math student doesn’t have to fill something out,

so why would you. Our Clinical Partners are a whole other bag, okay, they’re
not messing around. What they’re gonna [sic] do, Banner and Valleywise

_ has it as well [1.e., mandatory vaccination], which means other hospitals are

going to follow in line because that’s what they do right. They will say that
you can turn your declinations into them, they will go to their own panel, and

‘say yes or no. If they say no, we cannot do anything about this.

The fact that Banner and these places are doing these declinations, you all
know why they’re doing them, legally. Their employees are quitting or being
fired, if they had a real declination process, those people would still be there
wouldn’t they. Okay, so what are your chances?

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[August 23, 2021 Recording (comments made by Clinical Coordinator, Jared Christy, to |
District nursing students seeking information about religious exemptions to COVID-19

vaccination requirements for clinical placements). ]

 

P the outright bullying of religious objectors who were denounced and targeted by

 

 

one of their own Clinical Coordinators in his social media postings made while he was

: tasked with assisting these students with updates and information about COVID-19

 

 

vaccination for their clinical placements, as follows:

" So we’re back to masks even for fully vaccinated. Thank you, you
selfish dicks. You know who you are. And no, I will not listen to you

and your bullshit. (Jared Christy, Facebook Posting, July 29, 2021.)

" Look if I get drunk and decide to drive around and inadvertently kill

you. I mean am I at fault? That is COVID vaccine denial. (Jared
Christy, Facebook Posting, August 2, 2021.)

© So maybe you should just get the shot, worse comes to worse you die
and won’t have to pretend you’re so great all the time. (Jared Christy,

Facebook Posting, August 12, 2021.)

 

 

 

 

When advised of these vicious postings and their adverse impact on Plaintiffs and other
students seeking religious exemptions to the Vaccine Mandate, the District’s response,
ironically, was to defend this Clinical Coordinator’s First Amendment right to “emote” on
the topic, so long as he does not claim to be speaking for the District.

44. Meanwhile, the religious objectors seeking exemptions from COVID-19
vaccination had to fight, push, prod, and provoke their Program Directors, Clinical

Coordinators, and so many others, both inside and outside of the District, to simply obtain

 

 

the opportunity to seek a religious exemption from the Vaccine Mandate.

45. Ultimately, the REL/Eligibles were fortunate to be assigned to rotations with

 

 

Clinical Partners that honored their requests for religious exemptions from vaccination.
46. Plaintiffs and the other REL/InEligibles, however, were not so fortunate.

And, every form of academic accommodation they have proposed to the District has been

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rejected as an undue hardship, accompanied by a written reminder from the District that

| completion of their academic programs is on the line if they do not provide proof of an

approved exemption or vaccination by the start of their Fall 2021 rotations with a Clinical
Partner requiring universal COVID-19 vaccination.

47. The pressure the District has placed on these REL/InEligibles to forfeit their
religious convictions or their academic programs is unreal and unprecedented and more
than some of them could withstand, as the District fully expected. _

48. For Plaintiffs and the other REL/Mneligibles that remain unvaccinated

because of their religious convictions, they have figuratively walked through fire and wait

| just beyond the flames to see if everything they have worked for will go up in smoke

| because they refuse to sacrifice their sincerely held religious beliefs to mollify an

uncompromising District.

Ul. PLAINTIFFS’ SHARED RELIGIOUS CONVICTIONS OPPOSING
COMPULSORY COVID-19 VACCINATION, — |

49. Plaintiffs are united in their conscientious religious objections as Christians
to‘being inoculated with any of the available COVID-19 vaccines because they all employ

fetal cell lines derived from procured abortion in testing, development or production of the

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vaccines. In particular:

a. Johnson & Johnson/Janssen: Fetal cell cultures are used to produce and
manufacture the J&J COVID-19 vaccine and the final formulation of this

vaccine includes residual amounts of the fetal host cell proteins (<0.15
mcg) and/or host cell DNA (<3 ng).

b. Pfizer/BioNTech: The HEK-293 abortion-related cell line was used in
research related to the development of the Pfizer COVID-19 vaccine. —

c. Moderna/NIAID: Aborted fetal cell lines were used in both the
_ development and testing of Moderna’s COVID-19 vaccine.

50. ‘Plaintiffs share the following sincere religious beliefs concerning these

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abortion-connected vaccines:

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| given their use of fetal cell lines in testing, development, or production.

 

 

| (Program Chair”), an email with an attached vaccination declination letter to be sent to

| her assigned clinical sites, in which Emily detailed the bases for her request for a religious

 

addition, Emily sent the District Administrator’ and the Program Chair, MCC Nursing

 

 

 

a. They oppose abortion and believe it is the sinful killing of innocents and strictly
prohibited by their Christian faith, as is the use of abortion-derived fetal cell lines for
medical or research purposes.

b. It would be an unthinkable and complicit act in abortion and a violation of their

 

 

deeply held religious beliefs and moral consciences to take any of the COVID-19 vaccines,

 

 

c. The vaccine’s composition, side effects, fading efficacy over time, and the
body’s own natural immunity also inform Plaintiffs’ religious convictions against

involuntary or coerced vaccination as an invasion of the sanctity of the body and bodily

 

 

autonomy contrary to their religious beliefs. |
A. Plaintiff Emily Thoms
D1. Plaintiff, Emily Thoms, is a senior in good standing, in her fourth and final

semester of MCC’s nursing program.

52. On August 26, 2021, Emily was informed of the Vaccine Mandate via email

 

 

from the District Administrator, MaricopaNursing (“District Administrator”). The email

described the process students must follow to request a religious accommodation from the |

Vaccine Mandate.

33. On September 10, 2021, Emily followed that process and completed and
uploaded the District’s COVID-19 Vaccine Declination form and Religious

 

 

Accommodation Request form, copying her Program Director on those materials. In

 

 

accommodation from the Vaccine Mandate.
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54. On September 14, 2021, Emily received a response to her religious

accommodation request from the District Administrator stating that the request had been

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that:

 

 

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reviewed by the District Administrator and Program Chair and was denied on the grounds

[W]e cannot remove a requirement for placement at a clinical site as this
would constitute an undue hardship upon the College/District...Clinical
placements are negotiated through healthcare partners and students have
always been required to meet all required health and safety requirements
related to clinical placement, as outlined by our most stringent clinical
partner. The college cannot change its requirements for program completion,
exempt students from, or remove academic or clinical components that are
part of its approved and accredited program of study as this would constitute
an undue hardship upon the College/District.

[Ex. 8.] Emily was presented with the following options:

1. Exception to the Withdrawal policy. If you choose to withdraw from your
classes that have a clinical component, you may submit this determination
letter and you will be granted an exception to the refund policy. (Vote:
this is a refund of this current semester only, and not the entire cost of the

- program)

2. Possible Readmission 2022. You may work with your faculty member(s)
to complete the exit interview form. During this interview, you can
indicate if you wish to be considered for placement in the subsequent two
semesters (not counting summer). Placement is dependent on space

available and the clinical requirement for the COVID-19 vaccine may

still be in place for our clinical facilities.

Id. at 2, §91-2 (parenthetical note added).] Finally, Emily was advised that the decision
|
to deny her request for a religious accommodation from the Vaccine Mandate would be

reviewed by the District’s Compliance Office. ‘[/d. at 2.]
| 55. On September 15, 2021, Emily received an email from an attorney in the
District’s Compliance Office regarding the adverse determination on her request for a

| religious accommodation from the Vaccine Mandate. [Ex. 1.] The attorney affirmed the

| adverse defermination, stating as follows:

After careful consideration, I have decided that there is no reasonable
accommodation that would enable you to meet the requirements for clinical
placement without placing an undue hardship ypon the College/District in
complying with its agreements with clinical partners and in making its

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student-placement assignments. I have therefore decided to affirm the denial
of your religious accommodation request.

Ld.

56. One of Emily’s assigned clinical sites for Fall 2021 requires universal
COVID-19 vaccination for students working in its facilities. The District has refused
Emily’s repeated written requests for an academic accommodation that would allow her to
complete this 3-day clinical rotation without submitting to a vaccine she opposes on

religious grounds.

57. Prior to the Vaccine Mandate, Emily was slated to graduate from MCC with

| an Associate in Applied Science in Nursing Degree on December 17, 2021. Now, pursuant
| to the Vaccine Mandate, Emily will be removed from the MCC nursing program before |
| her final, assigned clinical rotation commences on November 8, 2021 unless she abandons

| her sincere religious beliefs and provides proof of COVID-19 vaccination to the District

by that date.
B. Plaintiff Kamaleilani Moreno
58. Plaintiff, Kamaleilani Moreno (“Kam1”), is a senior in good standing, in her
fourth and final semester of MCC’s nursing program.
»59. On August 26, 2021, Kami was informed of the Vaccine Mandate via email
from the District Administrator. The email described the process students must follow to
request a religious accommodation from the Vaccine Mandate.

60. On September 10, 2021, Kami followed that process and completed and

uploaded the District’s COVID-19 Vaccine. Declination form and _ Religious

Accommodation Request form, copying her Program Director on those materials. In

| addition, Kami sent the District Administrator and Program Chair an email with an attached

vaccination declination letter to be sent to her assigned clinical sites, in which Kami
detailed the bases for her request for a religious accommodation from the Vaccine

Mandate.

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61. On September 14, 2021, Kami received a response to her religious

accommodation request from the District Administrator stating that the request had been

reviewed by the District Administrator and Program Chair and was denied on the grounds

that:

|W je cannot remove a requirement for placement at a clinical site as this
would constitute an undue hardship upon the College/District...Clinical
placements are negotiated through healthcare partners and students have
always been required to meet all required health and safety requirements
related to clinical placement, as outlined by our most stringent clinical
partner. The college cannot change its requirements for program completion,
exempt students from, or remove academic or clinical components that are
part of its approved and accredited program of study as this would constitute
an undue hardship upon the College/District.

[Ex. 8.] Kami was presented with the following options:

1. Exception to the Withdrawal policy. If you choose to withdraw from your
classes that have a clinical component, you may submit this determination
letter and you will be granted an exception to the refund policy. (Note:

this is a refund of this current semester only, and not the entire cost of the
program)

2. Possible Readmission 2022. You may work with your faculty member(s) _
to complete the exit interview form. During this interview, you can
indicate if you wish to be considered for placement in the subsequent two
semesters (not counting summer). Placement is dependent on space
available and the clinical requirement for the COVID-19 vaccine may
still be in place for our clinical facilities.

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fd, at 2, Y91-2 (parenthetical note added). | Finally, Kami was advised that the decision to
deny her request for a religious accommodation from the Vaccine Mandate would be
reviewed by the District’s Compliance Office. [/d. at 2.]

62. On september 15, 2021, Kami received an email from an attorney in the
District’s Compliance Office regarding the adverse determination on her request for a

religious accommodation from the Vaccine Mandate. [Ex. 1.| The attorney affirmed the

adverse determination, stating as follows: ,

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preceding paragraphs as though fully set forth herein.
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and provides proof of COVID-19 vaccination to the District by that date.

After careful consideration, I have decided that there is no reasonable
accommodation that would enable you to meet the requirements for clinical
placement without placing an undue hardship upon the College/District in
complying with. its agreements with clinical partners and in making its
student-placement assignments. I have therefore decided to affirm the denial
of your religious accommodation request.

ld. |

 

 

63. One of Kami’s assigned clinical sites for Fall 2021 requires universal

 

 

COVID-19 vaccination for students working in its facilities. The District has refused
Kami’s repeated written requests for an academic accommodation that would allow her to
complete this 3-day clinical rotation without submitting to a vaccine she opposes on

religious grounds.

 

 

64. Prior to the Vaccine Mandate, Kami was slated to graduate from MCC with
an Associate in Applied Science in Nursing Degree on December 17, 2021. Now, however,
Kami will be removed from the MCC nursing program before her final, assigned clinical

rotation commences on November 8, 2021 unless she abandons her sincere religious beliefs

CLAIMS

COUNT 1

— VIOLATION OF THE FREE EXERCISE CLAUSE OF THE FIRST
AMENDMENT TO THE UNITED STATES CONSTITUTION |

(42 U.S.C. §1983)

 

 

65. Plaintiffs reallege and incorporate the allegations set forth in each of the

 

 

66. The Free Exercise Clause of the First Amendment to the United States |
Constitution as applied to the states by the Fourteenth Amendment, prohibits a political
subdivision of the State from abridging the Plaintiffs’ rights to free exercise of religion. —

67. Plaintiffs’ right to practice their Christian religion i a fundamental right.

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vaccination with abortion-connected vaccines, which includes available COVID-19

68. Plaintiffs have sincerely held religious beliefs that compel them to refuse

 

 

 

vaccines. Plaintiffs reallege the discussion of their sincerely held religious beliefs set forth
in the preceding paragraphs.
69. ‘The Vaccine Mandate, on its face and as applied, places Plaintiffs in an

irresolvable conflict between compliance with the mandate and their sincerely held

 

 

 

religious beliefs. , |
70. The Vaccine Mandate, on its face and as applied, puts substantial pressure

on Plaintiffs to violate their sincerely held religious beliefs or face removal from their

 

 

academic programs.

 

| 71. The Vaccine Mandate is not narrowly tailored and/or the least restrictive

 

 

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alternative to further the District’s interest in remaining compliant with its Clinical Partner

contracts, which could be achieved by providing Plaintiffs with any one of the academic

 

 

accommodations alleged in paragraph 30 (a-e) above, among other accommodations. !
72. The Vaccine Mandate, on its face and as applied, has caused, is causing, and
will continue to cause, irreparable harm to Plaintiffs from the violation of their sincerely

held religious beliefs and the punitive academic consequences exacted upon them for

 

| exercising those religious beliefs, which include removal from their Fall 2021 clinical
rotations beginning November 8, 2021, resulting in a failure (or an incomplete) for the
semester and withdrawal from their academic programs.

73. Plaintiffs have no adequate remedy at.law to prevent the continuing violation

 

 

 

| of their constitutional right to the free exercise of their sincerely held religious beliefs. |

PRAYER FOR RELIEF — ;
WHEREFORE. Plaintiffs respectfully request that the Court enter judgment in their
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favor and grant the following relief:

A. — A temporary restraining order and/or preliminary injunction, followed by a

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permanent injunction, restraining and enjoining the District, its officers, agents, employees,

 

 

 

 
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| with them, from enforcing, threatening to enforce, or attempting to enforce the Vaccine

attorneys and successors in office, and all other persons in active concert or participation

accommodation for Plaintiffs that will allow them to complete their academic programs on

time and as scheduled and contracted-for by Plaintiffs.

 

 

| reasonable attorney’s fee, in accordance with 42 U.S.C. §1988; and,

_E. Such other and further relief as the Court deems just and proper.

COUNT 2

VIOLATION OF ARIZONA’S FREE
EXERCISE OF RELIGION ACT (FERA)

—(ALR.S. §§ 41-1493 to -1493.02)
74, | Plaintiffs reallege and incorporate the allegations set forth in each of the
preceding paragraphs as though fully set forth herein.
75. ‘Plaintiffs have sincerely held religious beliefs that compel them to refuse

vaccination with abortion-connected vaccines, which includes available COVID-19

 

 

| vaccines. Plaintiffs reallege the discussion of their sincerely held religious beliefs set forth
| in the preceding paragraphs.

76. The District is a “political subdivision” and “government,” as those terms are

defined by FERA, and is therefore subject to the provisions of FERA. A. R. S. §41-

 

 

| 1493(3),(6).

 

 

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Mandate against Plaintiffs, and requiring the District to, instead, adopt a suitable

B. A declaratory judgment that the Vaccine Mandate is unconstitutional on its |
face.

C. A declaratory judgment that the Vaccine Mandate is unconstitutional as
applied to Plaintiffs.

D. An award of reasonable costs and expenses of this action, including a

 

 

 

 

 

 

 

 

 

 
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77.  FERA provides that “[f]ree exercise of religion is a fundamental right that

applies in this state even if laws, rules or other sovernment actions are facially neutral.”

A.R.S. §41-1493.01(A).

78. FERA bars the District from “substantially burdenfing] a person’s exercise

of religion even if the burden results from a rule of general applicability,” unless it is both
“li]n furtherance of a compelling governmental interest” and “[t]he least restrictive means
of furthering that compelling governmental interest.” A.R.S. §41-1493.01(B-C).

79, The District’s Vaccine Mandate is a rule of selective applicability that
requires proof of COVID-19 vaccination from Plaintiffs and other REL/InEligibles who
happen to be assigned to Fall 2021 clinical rotations with one or more Clinical Partners
that require universal COVID-19 vaccination for students.

80. [he Vaccine Mandate substantially burdens Plaintiffs’ free exercise of
religion in that it requires Plaintiffs to get vaccinated for COVID-19 in violation of their
sincerely held religious beliefs or face removal from their academic programs.

81. The Vaccine Mandate is not the least restrictive means of furthering the
District’s interest in remaining compliant with its Clinical Partner contracts, which could
be achieved by providing Plaintiffs with any one of the academic accommodations alleged
in paragraph 30 (a-e) above, among other accommodations.

82. The Vaccine Mandate has caused, is causing, and will continue to cause,
irreparable harm to Plaintiffs from the violation of their sincerely held religious beliefs and

the punitive academic consequences exacted upon them for exercising those religious

| beliefs, which include removal from their clinical rotations beginning on November 8,

2021, resulting in a failure (or an incomplete) for the semester and withdrawal from their
academic programs.
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83. Plaintiffs have no adequate remedy at law to prevent the continuing violation

of their constitutional right to the free exercise of their sincerely held religious beliefs.

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reasonable attorney’s fee, in accordance with A.R.S. §41-1493.01(D); and,

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs respectfully request that the Court enter judgment 1n their
favor and grant the following relief:

A. A temporary restraining order and/or preliminary injunction, followed by a

 

 

permanent injunction, restraining and enjoining the District, its officers, agents, employees,
attorneys and successors in office, and all other persons in active concert or participation
with them, from enforcing, threatening to enforce, or attempting to enforce the Vaccine
Mandate against Plaintiffs, and requiring the ‘District to, instead, adopt a suitable |
accommodation for Plaintiffs that will allow them to complete their academic programs on

time and as scheduled and contracted-for by Plaintiffs.

B. A declaratory judgment that the Vaccine Mandate is unconstitutional on its |
face.

C. A declaratory judgment that the Vaccine Mandate is unconstitutional as
applied to Plaintiffs.

D. An award of reasonable costs and expenses of this action, including a

 

 

_E. Such other and further relief as the Court deems just and proper.

. /s/ Colleen M. Auer_
Colleen M. Auer -
Attorney for Plaintiffs

 

 

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Dated: October 21, 2021 )

 

 

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VERIFICATION

I, Emily Thoms, do state and swear under penalty of perjury, and as permitted by
28 U.S.C. § 1746, as follows:

Iam one of the Plaintiffs in this action. I have read the foregoing Verified Complaint

| for Declaratory and Injunctive Relief, and to the best of my knowledge, information and
belief, the facts set forth in the pleading are true and accurate.

I declare under penalty of perjury that the foregoing is true and correct

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Executed on October 20, 2021.

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dL Kamaleilani Moreno, do state: and swear under penalty of perjury, and as

permitied by 28 U. S.C. § 1746, as follows:

I am one of the Plaintiffs in this action. I have read the foregoing Verified

} Complaint for Declaratory and Tnjunctive Relief, and to the best of my know ledge,

information and belief, the facts set forth in the pleading are true and accurate.
_ I declare under penalty of perjury that the foregoing is true and correct —

Executed on n October a 0. 2021.

 

Kamaleilani Moreno
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Office of Compliance

 

2411 West 14th Street, Tempe, AZ 85281 © T: 480.731.8893 © F: 480.731.8890 « district. maricopa.edu/legal

September 15, 2021

Emily Thoms

Via Email: emi2182088@maricopa.edu
Dear Emily Thoms,

On September 14, 2021, I received a determination letter regarding your request for a religious
accommodation. You requested an accommodation to be exempted from receiving the COVID-
19 vaccine required by the in-person clinical component of your studies because of your stated
position that, “this is a life of naturalistic power, allowing my God and the body my Lord has
given me, to deliver the healing necessary for any ailment, including pathogens.”

After careful consideration, I have decided that there is no reasonable accommodation that would
enable you to meet the requirements for clinical placement without placing an undue hardship
upon the College/District in complying with its agreements with clinical partners and in making
its student-placement assignments. I have therefore decided to affirm the denial of your religious
accommodation request.

Sincerely,

 

Jason Sweat, Esq.
MCCCD District Compliance
 

Office of Compliance

COMMUNIT

  

 

2411 West 14th Street, Tempe, AZ 85281 ¢ T: 480.731.8893 ¢ F: 480.731.8890 ¢ district. maricopa.edu/legal

September 15, 2021

Kamaleilani Moreno

Via Email: kam2041520@maricopa.edu
Dear Kamaleilani Moreno,

On September 14, 2021, I received a determination letter regarding your request for a religious |
accommodation. You requested an accommodation to be exempted from receiving the COVID-
19 vaccine required by the in-person clinical component of your studies because of your stated
position that, “I whole-heartedly believe that I would be risking my mental and physical health
by accepting an Emergency Use Authorization vaccination to attend 3 clinical shifts.”

After careful consideration, I have decided that there is no reasonable accommodation that would
‘enable you to meet the requirements for clinical placement without placing an undue hardship
upon the College/District in complying with its agreements with clinical partners and in making
its student-placement assignments. I have therefore decided to affirm the denial of your religious
accommodation request.

Sincerely,

 

Jason Sweat, Esq.
MCCCD District Compliance
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Religious Accommodation Agreement
(multi-site)

All Nursing and Allied Health students are required to meet the clinical placement requirements
as set out by our most stringent clinical partner. This is done because clinical placement
assignments are randomly assigned to the available clinical spots assigned to each college within
the District. Having all students meet our most stringent clinical partner placement requirements
allows the college to engage in random student placement into clinical spots because students have
met all requirements from all clinical partner sites.

Our most stringent clinical partner is requiring proof of COVID-19 vaccination by October 1,

2021, which is why MCCCD is requiring vaccination documents to be uploaded to American
DataBank by September 30, 2021.

This agreement constitutes MaricopaNursing’s and Allied Health reasonable accommodation for
those students seeking exemptions from the September 30, 2021 COVID-19 vaccination deadline
on religious grounds. By signing this agreement, you acknowledge that you meet the following
‘criteria which will be verified prior to attending all clinical rotations.

(initial) You have submitted a completed and signed Religious Accommodation Request
form located at:(https://district.maricopa.edu/regulations/admin-regs/appendices/non-
discrimination/nd-4).

 

 

 

 

(initial) You have met all requirements for clinical placement, except the COVID-19
clinical partner vaccination.

 

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(initial) You are currently a student in [INSERT COLLEGE]’s Maricopa Nursing or Allied
Health program.

 

|

(initial) You have been assigned to multiple clinical placement locations for Fall 2021 and
(check all that apply):

 

The sites to which you have been placed all currently DO NOT require a

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~ COVID-19 vaccination.

One site to which you have been placed has granted you an exemption from

the COVIB-19 vaccine as a religious accommodation (accommodation letter must be

attached to this document and must be granted to you as a student and not as an employee

of the facility to which you have been assigned).

¥
All of the sites to which you have been placed have granted you an exemption

 

from the COVID-19 vaccine as a religious accommodation (accommodation letters must
be attached to this document and must be granted to you as a student and not as an employee

of the facility to which you have been assigned).

By signing this agreement, you understand and acknowledge that:

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If at any time during the Fall 2021 semester, any (one or more) of my clinical placements,
for any reason, cancels my placement and I am reassigned to a new placement site, I
understand that I must meet all placement requirements from the newly assigned site which —
may include receiving the COVID-19 vaccine.

If at any time during the Fall 2021semester, any (one or more) of my clinical placements,
for any reason, begin to require the COVID-19 vaccination, I understand that I must
comply with this mandate within the prescribed timeframe identified by the clinical
placement site(s).

] understand that I may make a religious accommodation request to the newly assigned
clinical site or sites if they are currently accepting student accommodation requests, but
there is no guarantee that my request will be granted. _

I understand that I must meet all placement requirements from the District’s most stringent —
clinical partner on the first day of my newly assigned clinical placement(s).

If I refuse to meet all placement requirements, which includes receiving the COVID-19
vaccine and I have not been granted an exemption from receiving the COVID-19 vaccine
by the clinical site, I will be out of compliance with program requirements and may be
restricted from attending clinical, resulting in failure, withdrawal, or an incomplete for the
semester. .

d

 

Student Signature | _ Date

 

 

 

 

Student ID College

To be uploaded in American DataBank/Complio/mCE and provide-to program leadership.
Case 2:21-cv-01781-SPL Document1 Filed 10/21/21 Page 34 of 58

 

a Jl.
Religious Accommodation Disclosure and Acknowledgement Form

All Nursing and Allied Health students are required to meet the clinical placement requirements
as set out by our most stringent clinical partner. This is done because clinical placement
assignments are randomly assigned to the available clinical spots assigned to each college within
the District. Having all students meet our most stringent clinical partner placement requirements
allows the college to engage in random student placement into clinical spots because students have
met all requirements from all clinical partner sites.

Our most stringent clinical partner is requiring proof of COVID-19 vaccination by October l,

2021, which is why MCCCD is requiring vaccination documents to be uploaded to American
DataBank by September 30, 2021.
DISCLOSURE

This Religious Accommodation Disclosure and Acknowledgement Form outlines a reasonable
accommodation by Maricopa Nursing and Allied Health for those of its nursing students who are
currently seeking exemptions from the September 30, 202] COVID-19 vaccination deadline on
‘religious grounds. By signing this form, you acknowledge that you meet all of the following
criteria required to receive this reasonable accommodation, which will be verified by the Maricopa
County Community College District (“MCCCD") prior to the commencement of your clinical
rotations in the Fall of 2021.

ACKNOWLEDGEMENT

You hereby attest and acknowledge that:

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(initial). You are currently a student in [INSERT COLLEGE! S Maricopa Nursing or Allied
Health program.

 

|

(initial) You have uploaded a completed and signed Religious Accommodation Request
form available at (https://district.maricopa. edu /regulations/admin-regs/appendices/non-
discrimination/nd-4) to American DataBank.

 

 

(initial) You have met all requirements for clinical placement, including receiving any
necessary exemptions from COVID-19 vaccination requirements at your assigned clinical sites for
the Fall 2021 semester, as noted below (check all that apply):

f

 
All of the clinical sites to which you have been assigned DO NOT require
you to be vaccinated for COVID-19 at this time (attach a list of your assigned clinical sites,
which is dated and signed by you).

All of the clinical sites to which you have been assigned have granted you an

 

- exemption from their respective COVID-19 vaccination requirements as a religious
accommodation (the accommodation letters must be attached to this document and must
srant you the accommodation as a nursing student rather than as an employee of the
facility).

All of the clinical sites to which you have been assigned either DO NOT -

require you to be vaccinated for COVID-19 at this time and/or have granted you an
exemption from their respective COVID-19 vaccination requirements as a religious
accommodation (attach a list of your assigned clinical sites, which is dated and signed by
you, along with any accommodation letters, which must grant you the accommodation as

a nursing student rather than as an employee of the facility).

You understand and acknowledge that:

(1) this reasonable accommodation is contingent upon there being: (i) no changes or
cancellations to your assigned clinical sites for the Fall of 2021 that subject you to a new,
mandatory COVID-19 vaccination requirement; and, (ii) no changes in the COVID-19 vaccination
policies at your assigned clinical sites that subject you to a new, mandatory COVID-19 vaccination
requirement; |

(2) if there are changes or cancellations to your assigned clinical site(s) for the Fall of 2021
that subject you to a new, mandatory COVID-19 vaccination requirement, you will have to seek
and secure a religious exemption from each existing and/or newly assigned clinical site imposing
this requirement in order to retain this reasonable accommodation, which may not be possible and
is not guaranteed; and, — So |

(3) this reasonable accommodation will only apply for‘so long as you are exempted from
COVID-19 vaccination requirements by all of your assigned clinical sites throughout the entirety
of your clinical rotations at those assigned sites, and without this reasonable accommodation, or
an alternative reasonable accommodation from your assigned clinical sites and/or MCCCD, you
will be out of compliance with program requirements and may be restricted from attending clinical,
which means you Will be removed from your current placement/class with a clinical component,
and likely the program of study, thus delaying your completion of the program.

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Case 2:21-cv-01781-SPL Documen t1 Filed 10/21/21 Page 37 of 58

 

 

Student Signature Date

 

 

Student [D College

To be uploaded in American DataBank and provided to program leadership.
Case 2:21-cv-01781-SPL Document1 Filed 10/21/21 Page 38 of 58

 

“%
Joey Ridenour

Douglas A. Ducey ,
Executive Director AZBN

Governor

 

ARIZONA STATE BOARD OF NURSING

 

On March I1, 2020, the Arizona Governor, Doug Ducey, issued a Declaration of Emergency
related to the COVID-19 pandemic.

On March 20, 2020, the Arizona Department of Health Services (““ADHS”) issued Administrative
Order 2020-01 (Emergency Measures for COVID-19) (“Order’’). Pursuant to this Order, Arizona
‘Revised Statutes (“A.R.S.”) § 36-787(A)(6) provides authority for the Director of the Arizona
Department of Health Services (“Director”) to, “in conjunction with applicable professional
licensing boards,” establish “a process for temporary waiver of the professional licensure
requirements necessary for the implementation of any measures required to adequately address the
state of emergency...”

The Arizona State Board of Nursing (“Board”) asserts that the COVID-19 is an occurrence of a
pandemtc~disease that poses a substantial risk of a significant number of human fatalities. The
Board asserts that, as a result of this substantial risk, permitting temporary waivers of certain
professional licensing requirements will 1) allow all qualifying individuals who would fall under
the Board’s jurisdiction, have licenses or certificates in good standing in another state, and who
are in need of a waiver due to not holding, or being eligible for, a multistate compact license, to
begin practicing in Arizona if granted Board approval; 2) allow expired Arizona licensees and
certificate holders who do not have prior discipline or safety concerns, but have not met their
practice hours requirements recently (within five years), to renew their licenses and certificates to
provide needed services; 3) provide waivers for educational programs to help prevent spread of
COVID-19 by allowing programs under the Board’s jurisdiction to apply for and, if qualifying, |
receive a waiver to substitute online teaching for in person teaching, and. substitute direct patient
care. Clinicals/instruction with simulations during the State of Emergency, to minimize
transmission of COVID-19 between students and patients. Finally, requiring waiver applicants to
agree to release the Board and the State of Arizona from liability or administrative review related
to the waivers will prevent unnecessary litigation during a State of Emergency, allowing Board
and State employees to focus on processing emergency waivers and other issues related to the

State of Emergency (Note: all other existing legal recourse for constituents remains in place, as
this legal release provision applies only to the temporary, emergency waivers.)

?

A.R.S. Tithe 32, Chapter 15, particularly Article 2 (Sections 32-1635, 32-1635.01, 32-1640, 32-1644, 32-1645-1648,
and Arizona Administrative Code Title 4, Chapter 19, particularly Articles 2, 3 (and Section R4-19-304), 5 (and
Section R4-19-507), and 8 (Section R4-19-807).
The following are the Arizona State Board of Nursing’s (“Board’s”) processes created to address
the State of Emergency and mitigate the spread of COVID-19:

1. Any applicant for a temporary, emergency waiver agrees that the Board’s decision is final,
and the applicant releases the Board and the State from any causes of action related to the
waiver application process, or possible revocation of the waiver in the future.

2. At its sole discretion, the Board may deny any waiver applications, or summarily revoke
any waivers it previously granted, upon making a finding that the waiver for that individual
or program may endanger the health, safety or welfare of the public. Any such denial or
revocation action is final and is not subject to legal review.

3. The Board may delegate actions related to the temporary, emergency waivers to its
designee, so that expeditious decisions may be made, as needed, during the State of
Emergency. If this function is delegated, all such waivers granted, denied, or revoked, will
be reported for information to the Board by the Board designee at each regularly scheduled
meeting.

4. The Board may accept applications for temporary licensure from nurses of any level
(including LPN, RN, APRN), nursing assistants, or certified medication assistants if the
applicant holds an active, equivalent license or certificate in good standing in another state,
and does not have currently or any history of license/certificate probation, revocation,
application denial, or surrender. (Note: Nurses who already hold multistate compact
licenses do not require any approval prior to working in other compact member states,
including Arizona.) The Board will follow the existing law and internal processes for
temporary licensure/certification, with the applicable modifications needed for the
emergency, temporary waivers.

5. The Board may grant a temporary 90 day license or certificate to applicants described in
#4, above. This temporary license or certificate may be renewed at 90 day intervals following the
same process, while the Declaration of Emergency 1s in effect. :

6. Upon receiving a temporary Arizona license or certificate renewal application, the Board
may waive practice hours requirements and grant temporary renewals for 90 days for
Arizona nurse (all levels), nursing assistant, and certified medication assistant licenses and
certificates for individuals who have not met their required practice hours since their last
renewal, if the renewal period was within the past 5 years, and the licensees/certificate
holder does not have a prior history of license/certificate probation, revocation, application
denial, or surrender. |

7. Upon receiving a written application, the Board may grant temporary, 90 day nursing
assistant or medication assistant certificates to pre-licensure nursing students who provide
official proof from their nursing program that they have successfully completed, at
minimum, one semester of instruction in a pre-licensure nursing program approved by the

_ Board or another state board of nursing, and who pass the state nursing assistant

_ examination. This temporary certificate may be renewed at 90 day intervals following the

same process, while the Declaration of Emergency ts in effect.

8. Upon receiving a written application, the Board may temporarily waive specific teaching
requirements (see below) for Board-approved nursing, nursing assistant, and medication
assistant programs for one calendar year and may be renewed at one calendar year
intervals following the same process, while the Declaration of Emergency ts in effect.
The requirements that may be waived include: a.) to substitute simulations, lab hours, and
similar non-direct patient contact for required direct patient care clinical/instruction

hours; b) to provide all classroom/didactic teaching electronically, rather than in-person.

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The program’s application for temporary waiver of requirements must describe all requested
program modifications, and how the modification will provide adequate learning opportunities.

  

 

Joey Ridenour, RN., M.N.,
F.A.A.N. Executive Director
ARIZONA STATE BOARD OF NURSING

 
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EXHIBIT 5

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Case 2:21-cv-01781-SPL Documen t1 Filed 10/21/21 Page 43 of 58

From: Emma Mamaluy

 

 

 

 

 

 

 

 

 

 

To: cauernd1l4@gmail.cor
Subject: Re: An Afterthought
Date: Tuesday, October 5, 2021 8:23:03 PM —

Attachments: 2021 renewal - Re waiver - Maricopa.pdf -
CCD application 2020.08.13. COVID update (2). pdf

 

a iat ht MMe Ai Hi

   

 

Hello Colleen,

Below, please find the information I have related to your public records requests about
MCCCD and requests for Emergency Waiver approval:

1. Effective dates (start to finish) of first waiver: March 19, 2020 to March 19, 2021
2. Application date of renewal: August 12, 2021 to August 20, 2022
3. Whether renewal waiver was granted? Yes

I do not yet have a date for the renewal, but I will follow up on that.

I'm attaching the communications that formed the application for the waiver and the renewal
of same.

Thank you,
‘| Emma

Emma Lehner Mamaluy

Chief Counsel

Arizona State Board of Nursing
1740 West Adams, Suite 2000

Phoenix, Arjzona 85007
Direct Line: 480-319-0568

Urgent matters: Please contact my legal assistant, Trina Smith, at 602-771-7844-'or tsmith@azbn.gov

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may contain confidential and privileged information. Any unauthorized review, use, disclosure or distribution of this

information is prohibited. If you are not the intended recipient, please contact the sender by reply email and destroy all copies
of the original message. -

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On Tue, Oct 5, 2021 at 1:1] PM <cauernd|4(@gmail.com> wrote:

Emma,

:
Case 2:21-cv-01781-SPL Document 1 Filed 10/21/21 Page 44 of 58

ss,

Thanks for your time today. I realized after we spoke that it would be important for me to get
copies of the clinical waiver applications submitted by MCCCD to the AZBON because, in those
applications, MCCCD must:

“describe all requested program modifications, and how the modification will

provide adequate learning opportunities.”

:

So, please consider this a public records request to the AZBON for copies of all of the applications
- for clinical waivers for its nursing programs submitted by MCCCD to the AZBON pursuant to the
Board's 2020 “Declaration” (Emergency Measures for COVID-19). I understand that it may take

: staff some time to gather this information, which is fine. Thanks.

Sincerely,

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Colleen M Auer
AUER LAW FIRM PLLC

11445 E Via Linda, STE 2-529

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Scottsdale, Arizona 85259

 

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9/16/2020 State of Arizona Mail - Board notification update

 

 

Lyn Ledbetter <iledbetter@azbn.gov>

Board notifi cation update
2 messages

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Margi Schultz <schultz@gatewaycc.edu> | Thu, Aug 13, 2020 at 41: 47 AM

Reply-To: schultz@gatewaycc.edu
To: Lyn Ledbetter <lledbetter@azbn.gov>

Lyn ~ I don't mean to fill up your inbox, but the only thing that has changed in the note below is that we will be extending
our same processes throughout the fall semester. Just letting you know! Thanks, Margi

 

Margi J. Schultz, PhD, RN, CNE, FAADN
GateWay Community College

MARICOPA COMMUNITY COLLEGES
Director, Nursing Division

Administrator, MaricopaNursing, District Office
108 N. 40th Street, Phoenix, AZ 85634
schuilz@agatewaycc.edu
nttos:/Awww.gatewaycc.edu/

O: 602-286-8530 |

Linkedin | Twitter | Facebook

 

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Adversity is

On Thu, Mar 19, 2020 at 11:49 PM Margi Schultz <schuliz@gatewaycec.edu> wrote:

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«ii Lyn - please accept this notification on behalf of the eight MaricopaNursing colleges for our modified plan for the
_ remainder of the spring 2020 semester.

This email serves as notice to the Arizona State Board of Nursing that all face-to-face classes have been delayed at.all

eight MaricopaNursing colleges effective March 16, 2020 through April 5, 2020. Classes will resume in an
online/distance format on April 6, 2020 through the remainder of the spring 2020 semester ending on May 8, 2020.
There is an option to continue all classes for two weeks beyond the May 8 end date should faculty feel additional time is
needed to work with students. |

| This change in teaching modality impacts the Nursing Assistant (NA), Licensed Practical Nurse (LPN), the RN Nurse
Refresher, and the Associate of Applied Science in Nursing programs. While MaricoaNursing will not have students in
face-to-face lecture, skills labs, clinical, or simulation during this time, the competencies of the didactic and clinical
content have been mapped to online activities and “traditional” lecture will, continue by faculty using synchronous |
“Zoom” meetings for lecture and also asynchronous components. Virtual simulation and synchronous labs as well as -

other activities are planned to collaborate with the students to meet all competencies to successfully complete the
semester.

Faculty at all colleges have worked diligently to collaborate with students and create an interactive learning
environment. A modified testing plan for MaricopaNursing has been drafted to accommodate the remote testing which

will need to be implemented and this will be shared with the AZBN when finalized. Please do not hesitate to contact
any of the MaricopaNursing Directors should you have questions or concerns.

Margi Schultz on behalf of MaricopaNursing Leadership Council -
Karen Flanigan, Chandler Gilbert CC

Roni Collazo, Estrella Mountain CC | ;

_ Margi Schultz, GateWay CC

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Susan Mayer, Glendale CC
Mary Boyce, Mesa CC
Nick DeFalco, Paradise Valley CC

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Case 2:21-cv-01781-SPL Documen t1 Filed 10/21/21 Page 46 of 58

9/16/2020 State of Arizona Mail - Board notification update

_ Salina Bednarek, Phoenix CC
: Karen Hobbs, Scottsdale CC

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Margi J. Schultz, PhD, RN, CNE, FAADN
GateWay Community College

MARICOPA COMMUNITY COLLEGES
Director, Nursing Division

Administrator, MaricopaNursing, District Office
108 N. 40th Street, Phoenix, AZ 85034
schuliz@gatewaycc.edu

——— nitos: /Awww.gatewaycc.edau/

: O: 602-286-8530

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Lyn Ledbetter <lledbetter@azbn.gov> Thu, Aug 13, 2020 at 11:18 AM
To: Pre-Licensure Gateway Community College - Maricopa Nursing ADN <scnultz@gatewaycc. edu> .

thank you!

Lyn Ledbetter

Administrative Assistant
Education Department
Email: ledbetter@azbn.gov

 

1740 W. Adams St.

Phoenix, AZ 85007 »°

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disclosure under applicable law. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the intended recipient, please contact the sender by email and destroy all

copies of the original message and attachments. Thank you. |

[Quoted text hidden]

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Case 2:21-cv-01781-SPL Documen t1 Filed 10/21/21 Page 47 of 58

10/5/21, 8:15 PM State of Arizona Mail - Re: waiver - Maricopa

 

Emma Mamaluy <emamaluy@azbn.gov>

 

 

PRRRAAAAPE PAPE EPPO PPE ANNA RRR RRA A! Ao PS BROS BREN BE ERTS ROAR ORS IASB SAE DADRA RR RE NAOMI D NUON adh i al ia APR RSE AEE MSIE ABSA ANNO ARE RE PGR PGR A RCPOPOR SPREE APSE Pt Te esky ba ee aaa

Re: waiver - Maricopa
1 message

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Emma Mamaluy <emamaluy@azbn. gov> Tue, Oct 5, 2021 at 8:15 PM
To: Emma Mamaluy <emamaluy@azbn.gov>

 

anna enn Forwarded message ---------
From: Margi Schultz <schultz@gatewaycc.edu>
Date: Thu, Aug 12, 2021 at 11:27 AM
_ Subject: waiver
. To: Lyn Ledbetter <lledbetter@azon. gov>

oe ee ee

Lyn - this is to serve as the MaricopaNursing renewal for our simulation/clinical experience waiver. I know it is time to
renew. Please let me know if you have any questions and if I need to place this on the drive... thanks, Margi

This email serves as renewal notice to the Arizona State Board of Nursing that some face-to-face classes, labs, and
clinical have been modified at all eight MaricopaNursing colleges effective August 11, 2021. This change in teaching
_ modality may impact the Nursing Assistant (NA), Licensed Practical Nurse (LPN), the RN Nurse Refresher, and the
_ Associate of Applied Science in Nursing programs.

See

| While MaricoaNursing will have many students in face-to-face lecture, skills labs, clinical, and/or simulation during

this academic year, the competencies of the didactic and clinical content have been mapped to online activities and

_ “traditional” lecture will continue face- to-face or virtually as required by the current status of the pandemic. Faculty at

_ all colleges have worked diligently to collaborate with students and create an interactive online learning environment as
needed. )

 

:
A modified testing plan for MaricopaNursing has been drafted to accommodate remote testing when/if needed. Please
do not hesitate 1 to contact any of the MaricopaNursing Directors should you have questions or concerns.

| Respectfully,

Margi Schultz on behalf of MaricopaNursing Leadership Council -
‘Karen Flanigan, Chandler Gilbert CC

Roni Collazo, Estrella Mountain CC

 

Margi Schultz, GateWay CC

Grace Paul, Glendale CC
_ Mary Boyce, Mesa CC
_ Jessica Bruhn, Paradise Valley CC
Constance Powers, Phoenix CC
Deborah Dol!lmeyer, Scottsdale CC

hata Saha Pal SaaMaPaMaMaPaMaatas WAaMaMaPaPhMaPaMaMataPaTaMa aw wtatatat ae a= Pa eae

_ | Margi J. Schultz, PhD, RN, CNE, FAADN
GateWay Community College

MARICOPA COMMUNITY COLLEGES
Director, Nursing Division —_ oe
Administrator, MaricopaNursing, District Office

. 108 N. 40th Street, Phoenix, AZ 85034

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10/5/21, 8:15 PM , State of Arizona Mail - Re: waiver - Maricopa

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Aug 34, 2027 af 6:21PM

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Case 2:21-cv-01781-SPL Document1 Filed 10/21/21 Page 51 of 58

 

a al
From: Emily Thoms

To: cauernd?4@qmail.com |

Subject: Fwd: Jared Christy (MCC Nursing Dept Information Items) just sent you a message in Canvas.
Date: Monday, October 11, 2021 4:48:37 PM

---------- Forwarded message ---------

From: Emily Thoms <emi2. C | >

Date: Mon, Oct 11, 2021, 13:52
Subject: Fwd: Jared Christy (MCC Nursing Dept Information Items) just sent you a message
in Canvas. |

~ To: <eh 2492(Memail.com>
| meneeeeeen Forwarded message ---------
From: Jared Christy <notifications(@in com>

Date: Wed, Oct 6, 2021, 13:01

Subject: Jared Christy (MCC Nursing Dept Information Items) just sent you a message in
Canvas.
. To: <EMI21 amar ‘du>

Final COVID Update for Fall (Blocks 1, 2 and 3)
Greetings,

If you are Block 4 you have already been cleared you can move on. I will update you
next week. |

Blocks 1, 2 and 3.

This is my final COVID update (fingers crossed). Items submitted in mCE without prior
permission from me will be rejected. We need to sync accounts. | am getting
submissions that state "it doesn't work”. | Know you have uploaded your docs but you
are missing a step. If that is the case come and see me. M-F 8am-3pm

_ Remember the process was:

‘American DataBank----------------- anno >Await Approval in ADB--------- Sync with MCE

Please students who are “all good" ask everyone in your classroom if they need some
help. It is going to take all of us to get this done.

Thank you
PMA (trying atleast) allday a p

Jared

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Case 2:21-cv-01781-SPL Documen t1 Filed 10/21/21 Page 53 of 58

Jared Christy

 

You can reply to this message in Canvas by replying directly to this email. If you need
to include an attachment, please log in to Canvas and reply through the Inbox.

 

View this message in Conversations : Update your notification settings
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Case 2:21-cv-01781-SPL Document1 Filed 10/21/21 Page 54 of 58

 
 

september 14, 2021

Re: Religious accommodation request related to the COVID-19 Vaccination

Dear Emily Thoms;

On September 10, 2021, I received a request for religious accommodation from you asking to be
allowed to forego receiving the COVID-19 vaccine. On the Religious Accommodation Request
Form, you shared that “this is a life of naturalistic power, allowing my God and the body my
Lord has given me, to deliver the healing necessary for any ailment, including pathogens” as a
primary reason you are requesting an accommodation on religious grounds.

As stated in ND-4 Religious Accommodation Procedures and Request form, your request has
been reviewed by me and the Academic Chair of the Nursing Program at your college. After

careful consideration, we have decided to deny your requested religious accommodation and

approve an alternative reasonable accommodation. The justification is.outlined below:

 

 

 

Denial of the requested accommodation:

1, Religious accommodations are made on a case-by-case basis taking into account many factors,
including the impact such an accommodation will have on the educational environment as a
whole. While we can approve your religious accommodation request to forego receiving the
COVID-19 vaccine while you are participating in classroom instruction and activities on the
college campus, we cannot remove a requirement for placement at a clinical site, as this would
constitute an undue hardship upon the College/District.

2. The classes you are registered for require an in-person clinical component. Clinical
placements are negotiated through healthcare partners and students have always been required to
meet all required health and safety requirements related to clinical placement, as outlined by our
most stringent clinical partner. The college cannot change its requirements for program
completion, exempt students from, or remove academic or clinical components that are part of its

approved and accredited program of study as this would constitute an undue hardship upon the
College/District.

#
You are being granted the following accommodations:

1. Exception to the Withdrawal policy. If you choose to withdraw from your classes that have a.
clinical component, you may submit this determination letter and you will be granted an
exception to the refund policy.

2. Possible Readmission 2022. You may work with your faculty member(s) to complete the exit
interview form. During this interview, you can indicate if you wish to be considered for
placement in the subsequent two semesters (not counting summer). Placement is dependent on
space available and the clinical requirement for the COVID-19 vaccine may still be in place for
our clinical facilities.

As part of this accommodation request process, this decision has been forwarded to the
Compliance office for review. You should receive correspondence from the Compliance office
within the next 72 hours. If you would like to reach out to them directly, please feel free to email
compliance@domail.maricopa.edu.

Sincerely,

‘Margi J, Schultz, PhD, RN, CNE, PLNC, FAADN
Administrator, MaricopaNursing — -
 

September 14, 2021

Re: Religious accommodation request related to the COVID-19 Vaccination
Dear Kamaleilani Moreno;

On September 10, 2021, I received a request for religious accommodation from you asking to be
allowed to forego receiving the COVID-19 vaccine. On the Religious Accommodation Request
Form, you shared that “I whole-heartedly believe that I would be risking my mental and physical
health by accepting an Emergency Use Authorization vaccination to attend 3 clinical shifts” as
one of the reasons you are requesting an accommodation on religious grounds.

As stated in ND-4 Religious Accommodation Procedures and Request form, your request has
been reviewed by me and the Academic Chair of the Nursing Program at your college. After
careful consideration, we have decided to deny your requested religious accommodation and
approve an alternative reasonable accommodation. The justification is outlined below:

 

 

 

Denial of the requested accommodation:

1. Religious accommodations are made on a case-by-case basis taking into account many factors,
including the impact such an accommodation will have on the educational environment as a
whole. While we can approve your religious accommodation request to forego receiving the
COVID-19 vaccine while you are participating in classroom instruction and activities on the
college campus, we cannot remove a requirement for placement at a clinical site, as this would —
constitute an undue hardship upon the College/District.

2. The classes you are registered for require an in-person clinical component. Clinical
placements are negotiated through healthcare partners and students have always been required to
meet all required health and safety requirements related to clinical placement, as outlined by our
most stringent clinical partner. The college cannot change its requirements for program
completion, exempt students from, or remove academic or clinical components that are part of its

approved and accredited program of study as this would constitute an undue hardship upon the
College/District.

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You are being granted the following accommodations:

1. Exception to the Withdrawal policy. If you choose to withdraw from your classes that have a

clinical component, you may submit this determination letter and you will be granted an
exception to the refund policy.

2. Possible Readmission 2022. You may work with your faculty member(s) to complete the exit
interview form. During this interview, you can indicate if you wish to be considered for
placement in the subsequent two semesters (not counting summer). Placement is dependent on
space available and the clinical requirement for the COVID-19 vaccine may still be in place for
our clinical facilities.

As part of this accommodation request process, this decision has been forwarded to the
Compliance office for review. You should receive correspondence from the Compliance office
within the next 72 hours. If you would like to reach out to them directly, please feel free to email
compliance@domail.maricopa.edu.

 

Sincerely,

“Margi J. Schultz, PhD, RN, CNE, PLNC, FAADN
Administrator, MaricopaNursing
